     Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 1 of 30




                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION


 UNITED STATES OF AMERICA                    SUPERSEDING INDICTMENT NO.
                                             CR 419-150
              V.

                                             18 U.S.C. §371
 WORLD MINING AND OIL                        Conspiracy
 SUPPLY
       a/k/a'WMO"                            50 U.S.C. § 4801 et
 DALI BAGROU                                 Export Control Reform Act
 GVA INTERNATIONAL OIL AND
   GAS SERVICES                              18 U.S.C. § 1349
      a/k/a "GVA INTERNATIONAL               Wire Fraud Conspiracy            f\>

    DMCC"
 GABRIELE VILLONE                            18 U.S.C. § 1956(h)
 BRUNO CAPARINI                              Money Laundering Conspiracy
 KS ENGINEERING
       a/k/a "KS-INZHINIRING CO.             18 U.S.C. § 2
       LTD."                                 Aiding and Abetting
       a/k/a "KS-INZHINIRING,
       LLC"
 ANTON CHEREMUKHIN
 OLEG VLADISLAVOVICH
   NIKITIN


THE GRAND JURY CHARGES THAT:


      At all times material to this indictment:


                         Defendants and Other Entities


      1. Company A, the identity of which is known to the grand jury, was a

multinational company that specialized in industrial manufacturing. Company A

operated offices and production facilities throughout the United States.

      2. WORLD MINING AND OIL SUPPLY("WMO")advertised as a

sourcing and supply company that specialized in industrial, mining, and oil and gas

products. Its corporate office was located in Dacula, Georgia.
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 2 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 3 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 4 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 5 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 6 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 7 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 8 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 9 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 10 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 11 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 12 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 13 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 14 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 15 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 16 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 17 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 18 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 19 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 20 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 21 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 22 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 23 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 24 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 25 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 26 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 27 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 28 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 29 of 30
Case 4:19-cr-00150-RSB-CLR Document 15 Filed 10/01/19 Page 30 of 30
